Case:17-03283-LTS Doc#:14694 Filed:10/20/20 Entered:10/20/20 17:20:01 Desc: Main
                            Document Page 1 of 7
                                                 Presentment Date: October 28, 2020
                              Objection Deadline: October 27, 2020 at 4:00 p.m. (AST)
                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF PUERTO RICO


    In re:                                                   PROMESA
                                                             Title III
    THE FINANCIAL OVERSIGHT AND
    MANAGEMENT BOARD FOR PUERTO RICO,                        No. 17 BK 3283-LTS

             as representative of                            (Jointly Administered)

    THE COMMONWEALTH OF PUERTO RICO, et
    al.,
                                                             This filing relates to the
                            Debtors. 1                       Commonwealth, HTA, and ERS


               NOTICE OF PRESENTMENT OF PROPOSED ORDER
      (A) GRANTING IN PART THE ONE HUNDRED FORTY-SECOND OMNIBUS
     OBJECTION (NON-SUBSTANTIVE) OF THE COMMONWEALTH OF PUERTO
    RICO, PUERTO RICO HIGHWAYS AND TRANSPORTATION AUTHORITY, AND
        EMPLOYEES RETIREMENT SYSTEM OF THE GOVERNMENT OF THE
     COMMONWEALTH OF PUERTO RICO TO DEFICIENT CLAIMS ASSERTING
  INTERESTS BASED ON UNSPECIFIED PUERTO RICO STATUTES, (B) APPROVING
   FORM OF NOTICE FOR CLAIMS TO BE SET FOR HEARING, AND (C) GRANTING
                             RELATED RELIEF


         PLEASE TAKE NOTICE that, on October 20, 2020, the Commonwealth of Puerto Rico

  (the “Commonwealth”), the Puerto Rico Highways and Transportation Authority (“HTA”) and the



  1 The Debtors in these Title III Cases, along with each Debtor’s respective Title  III case number
  and the last four (4) digits of each Debtor’s federal tax identification number, as applicable, are
  the (i) Commonwealth of Puerto Rico (“Commonwealth”) (Bankruptcy Case No. 17-BK-3283-
  LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax Financing Corporation
  (“COFINA”) (Bankruptcy Case No. 17-BK-3284-LTS) (Last Four Digits of Federal Tax ID:
  8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case No.
  17-BK-3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System
  of the Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17-BK-
  3566-LTS) (Last Four Digits of Federal Tax ID: 9686); (v) Puerto Rico Electric Power Authority
  (“PREPA”) (Bankruptcy Case No. 17- BK-4780-LTS) (Last Four Digits of Federal Tax ID: 3747);
  and (vi) Puerto Rico Public Buildings Authority (“PBA”) (Bankruptcy Case No. 19-BK-5523-
  LTS) (Last Four Digits of Federal Tax ID: 3801) (Title III case numbers are listed as Bankruptcy
  Case numbers due to software limitations).
Case:17-03283-LTS Doc#:14694 Filed:10/20/20 Entered:10/20/20 17:20:01                    Desc: Main
                            Document Page 2 of 7


  Employees Retirement System of the Government of the Commonwealth of Puerto Rico (“ERS,”

  and together with the Commonwealth and HTA, the “Debtors”), by and through the Financial

  Oversight and Management Board for Puerto Rico (the “Oversight Board”), as sole representative

  of the Debtors pursuant to section 315(b) of the Puerto Rico Oversight, Management, and

  Economic Stability Act (“PROMESA”), hereby submit a Notice of Presentment of Proposed Order

  (A) Granting in Part the One Hundred Forty-Second Omnibus Objection (Non-Substantive) of the

  Commonwealth of Puerto Rico, Puerto Rico Highways and Transportation Authority, and

  Employees Retirement System of the Government of the Commonwealth of Puerto Rico to Deficient

  Claims Asserting Interests Based on Unspecified Puerto Rico Statutes, (B) Approving Form of

  Notice for Claims to Be Set for Hearing, and (C) Granting Related Relief (this “Notice”).

         PLEASE TAKE FURTHER NOTICE that, on January 14, 2020, the Debtors, by and

  through the Oversight Board, filed the One Hundred Forty-Second Omnibus Objection (Non-

  Substantive) of the Commonwealth of Puerto Rico, Puerto Rico Highways and Transportation

  Authority, and Employees Retirement System of the Government of the Commonwealth of Puerto

  Rico to Deficient Claims Asserting Interests Based on Unspecified Puerto Rico Statutes[ECF No.

  9935] (the “One Hundred Forty-Second Omnibus Objection”) to the proofs of claim listed on

  Exhibit A thereto.

         PLEASE TAKE FURTHER NOTICE that the One Hundred Forty-Second Omnibus

  Objection was initially scheduled for hearing on March 4 and March 5, 2020 (the “March

  Hearing”).

         PLEASE TAKE FURTHER NOTICE that any party against whom the One Hundred

  Forty-Second Omnibus Objection was served, or any other party to the Debtors’ Title III cases

  who objected to the relief sought therein, was required to file and serve a response to the One




                                                  2
Case:17-03283-LTS Doc#:14694 Filed:10/20/20 Entered:10/20/20 17:20:01                          Desc: Main
                            Document Page 3 of 7


  Hundred Forty-Second Omnibus Objection with the clerk’s office of the United States District

  Court for the District of Puerto Rico by 4:00 p.m. (Atlantic Time) on February 18, 2020 (the

  “Response Deadline”).

          PLEASE TAKE FURTHER NOTICE that, as set forth in Exhibit C to the One Hundred

  Forty-Second Omnibus Objection, if no response was filed by the Response Deadline, the One

  Hundred Forty-Second Omnibus Objection “will be deemed unopposed and may be granted

  unless: (1) the requested relief is forbidden by law; (2) the requested relief is against public policy;

  or (3) in the opinion of the court, the interest of justice requires otherwise.” Ex. C to One Hundred

  Forty-Second Omnibus Objection, ECF No. 9935-4, at 2.

          PLEASE TAKE FURTHER NOTICE that at the March Hearing, the Court granted, inter

  alia, One Hundred Forty-Second Omnibus Objection as to those claimants who had neither filed

  responses nor submitted supplemental mailings as of the March Hearing (collectively, the “Non-

  Responding Claimants”). By orders dated April 3, 2020, and April 7, 2020, the Court disallowed,

  inter alia, the Non-Responding Claimants’ claims. As to claims filed by individuals who filed

  responses to the One Hundred Forty-Second Omnibus Objection, or who had submitted a

  supplemental mailing (collectively, the “Responding Claimants”), the One Hundred Forty-Second

  Omnibus Objection was adjourned, by notices, to the omnibus hearing scheduled for October 28,

  2020.

          PLEASE TAKE FURTHER NOTICE that, on September 29, 2020, this Court entered

  the Order Regarding Pending Omnibus Objections to Claims [ECF No. 14419] (the “Satellite

  Hearing Procedures Order”), scheduling a hearing to consider, inter alia, the One Hundred Forty-

  Second Omnibus Objection for November 18, 2020, at 9:30 a.m. (Atlantic Time) (the

  “November 18 Satellite Hearing”) at the Prime Clerk collection center located at Citi Towers, 250




                                                     3
Case:17-03283-LTS Doc#:14694 Filed:10/20/20 Entered:10/20/20 17:20:01                        Desc: Main
                            Document Page 4 of 7


  Ponce de León Ave., Suite 503, Hato Rey, San Juan, PR 00918 (the “Satellite Site”). Satellite

  Hearing Procedures Order at 1.

         PLEASE TAKE FURTHER NOTICE that, as of the filing of this Notice, the Responding

  Claimants associated with the claims listed on Exhibit A hereto have responded to the One

  Hundred Forty-Second Omnibus Objection (the “Deficient Claims to Be Set for Hearing”) on or

  before the Response Deadline via either (i) ECF filing, (ii) mailing to Prime Clerk, LLC (“Prime

  Clerk”), (iii) mailing to counsel for the Oversight Board, or (iv) mailing to counsel for the Official

  Committee of Unsecured Creditors of the Commonwealth of Puerto Rico (the “UCC”)

  (collectively, the “Deficient Responses”) and, upon review of the Deficient Responses, the Debtors

  (a) have determined that the Deficient Responses fail to provide sufficient information to enable

  the Debtors to reconcile the Deficient Claims to Be Set for Hearing and (b) intend to prosecute the

  One Hundred Forty-Second Omnibus Objection as to the Deficient Claims to Be Set for Hearing

  at the November 18 Satellite Hearing. The notice for the November 18 Satellite Hearing is

  attached hereto as Exhibit C (the “Satellite Hearing Notice”) and will be served on all Claimants

  associated with the claims listed on Exhibit A and made publically available on the Prime Clerk

  website.

         PLEASE TAKE FURTHER NOTICE that, as of the Response Deadline, the Claimants

  associated with the claims listed on Exhibit B hereto have responded to the One Hundred Forty-

  Second Omnibus Objection (the “ADR/ACR Eligible Claims”) on or before the Response

  Deadline via either (i) ECF filing, (ii) mailing to Prime Clerk, (iii) mailing to counsel for the

  Oversight Board, or (iv) mailing to counsel for the UCC, and pursuant to the Satellite Hearing

  Procedures Order, the Debtors will file a notice of transfer with respect to the ADR/ACR Eligible

  Claims on or before the deadline to file replies in support of the One Hundred Forty-Second




                                                    4
Case:17-03283-LTS Doc#:14694 Filed:10/20/20 Entered:10/20/20 17:20:01                       Desc: Main
                            Document Page 5 of 7


  Omnibus Objection, or November 11, 2020. The ADR/ACR Eligible Claims will not be heard at

  the November 18 Satellite Hearing, and the claimants associated with the ADR/ACR Eligible

  Claims need not appear at the November 18 Satellite Hearing.

         PLEASE TAKE FURTHER NOTICE that, pursuant to the requirements of Federal Rule

  of Bankruptcy Procedure 3007, made applicable to this Title III case by PROMESA section 310,

  the Claimants associated with the claims listed on Exhibit D hereto were served with copies of the

  One Hundred Forty-Second Omnibus Objection via “first-class mail to the person most recently

  designated on the claimant’s original or amended proof of claim as the person to receive notices,

  at the address so indicated,” but the Debtors’ mailings were returned as undeliverable (the “Claims

  with Undeliverable Addresses”).

         PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit E is a proposed

  order (the “Proposed Order”) (i) approving the Satellite Hearing Notice and (ii) disallowing the

  Claims with Undeliverable Addresses.

         PLEASE TAKE FURTHER NOTICE that, unless a written objection to the Proposed

  Order is filed with the Court by 4:00 p.m. (Atlantic Time) on October 27, 2020, the relief requested

  in the One Hundred Forty-Second Omnibus Objection shall be deemed unopposed, and the

  Proposed Order disallowing the Claims with Undeliverable Addresses may be entered without a

  further hearing.

         PLEASE TAKE FURTHER NOTICE that, pursuant to Paragraph III.H of the Court’s

  Thirteenth Amended Notice, Case Management and Administrative Procedures [ECF No. 13512-

  1], “the presentment of a proposed order for administrative relief must be filed and served at least

  seven (7) calendar days before the presentment date, and Objections thereto must be filed and

  served at least one (1) calendar day before the presentment date,” and accordingly, unless a written




                                                   5
Case:17-03283-LTS Doc#:14694 Filed:10/20/20 Entered:10/20/20 17:20:01                       Desc: Main
                            Document Page 6 of 7


  objection to the Proposed Order is filed with the Court no later than 4:00 p.m. (Atlantic Time) on

  October 27, 2020, the relief requested shall be deemed unopposed, and the Court may enter an

  order granting the relief sought without a hearing.

         PLEASE TAKE FURTHER NOTICE that copies of all documents filed in these Title

  III cases are available (a) free of charge by visiting https://cases.primeclerk.com/puertorico or by

  calling +1 (844) 822-9231, and (b) on the Court’s website at http://www.prd.uscourts.gov, subject

  to the procedures and fees set forth therein.



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                                                   6
Case:17-03283-LTS Doc#:14694 Filed:10/20/20 Entered:10/20/20 17:20:01          Desc: Main
                            Document Page 7 of 7




   Dated: October 20, 2020                  Respectfully submitted,
          San Juan, Puerto Rico
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                                        7
